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12   Attorneys for Plaintiff

13                           UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON AT TACOMA
14
15   DAN TRAMMELL,                                      Case. No. 3:16-cv-05163-RJB
16                  Plaintiff,
17          vs.                                         NOTICE OF SETTLEMENT
18   AFNI, INC.,
19                  Defendant.                          Hon. Robert J. Bryan
20
21
22   //
23   //
24   //
25   //
     NOTICE OF SETTLEMENT                       1                  KAZEROUNI LAW GROUP, APC
     3:16−cv−05163−RJB                                             1546 NW 56th Street
                                                                   Seattle, WA 98108
                                                                   Tel: (800) 400-6808
                                                                   Fax: (800) 520-5523
             Case 3:16-cv-05163-RJB Document 25 Filed 02/22/17 Page 2 of 3




1    TO    THE      HONORABLE           COURT,       ALL     PARTIES    HEREIN,    AND      THEIR
2    RESPECTIVE ATTORNEYS OF RECORD:
3           PLEASE TAKE NOTICE that this action has settled. Plaintiff respectfully requests that
4    this Honorable Court vacate all pending dates in this matter and allow the parties thirty (30)
5    days within which to file dispositional papers. The parties anticipate that they will complete
6    the settlement and a dismissal of this action will be forthcoming. This Court shall retain
7    jurisdiction over this matter until fully resolved.
8
9           DATED this 22nd day of February, 2017.
10
                                                           KAZEROUNI LAW GROUP, APC
11
12                                              By: s/ Abbas Kazerounian
                                                        Abbas Kazerounian, WSBA No. 48522
13                                                      Attorney for Plaintiff
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     NOTICE OF SETTLEMENT                           2                  KAZEROUNI LAW GROUP, APC
     3:16−cv−05163−RJB                                                 1546 NW 56th Street
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                                                                       Tel: (800) 400-6808
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             Case 3:16-cv-05163-RJB Document 25 Filed 02/22/17 Page 3 of 3




1                                        PROOF OF SERVICE
2
            I am a resident of the State of California, over the age of eighteen years, and not a party
3    to the within action. My business address is Kazerouni Law Group, APC, 1546 NW 56th Street,
4    Seattle, WA 98107. On February 22, 2017, I served the within documents:
5
6          NOTICE OF SETTLEMENT

7
           S       CM/ECF - by transmitting electronically the document(s) listed above to the
8                  electronic case filing system on this date before 11:59 p.m. The Court’s
                   CM/ECF system sends an e-mail notification of the filing to the parties and
9
                   counsel of record who are registered with the Court’s CM/ECF system.
10
11         I declare under penalty of perjury under the laws of the state of California that the above
12   is true and correct. Executed on February 22, 2017 at Costa Mesa, California,
13
14
15                                                            s/ Abbas Kazerounian
                                                                Abbas Kazerounian
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     PROOF OF SERVICE                              3                   KAZEROUNI LAW GROUP, APC
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